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                       APPENDIX A

                 FINAL JUDGMENTS
     (Ordered by Case Listing in the Case Caption)




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                     UNITED STATES v.
                  ATLANTIC COMPANY, et al.
                       Civil Action No.: 719
                   Year Judgment Entered: 1952




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                    UNITED STATES v.
         HEYWARD ALLEN MOTOR COMPANY, INC., et al.
                       Civil Action No.: 771
                    Year Judgment Entered: 1971




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                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF GEORGIA
                        ATHENS DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                 Plaintiff,                        )
                                                   )
            v.                                     ) Civil No. 771
                                                   )
HEYWARD ALLEN MOTOR COMPANY, INC.,                 ) Entered: June 26,1971
J. SWANTON IVY, INC.,                              )
TRUSSELL FORD, INC.,                               )
PATTON BROTHERS, INC.,                             )
DAVIDSON PONTIAC-BUICK, INC.                       )
CLARKE COUNTY MOTORS, INC.,                        )
SILVEY MOTOR COMPANY, INC.                         )
PHILLIPS BODY AND PAINT SHOP, INC.,                )
CARNEY'S BODY & PAINT SHOP, INC.,                  )
ATHENS AUTOMOBILE DEALERS ASSOCIATION              )
and INDEPENDENT GARAGE OWNERS OF ATHENS,           )
                                                   )
                            Defendants.            )
                          FINAL   JUDGMENT


    Plaintiff, United States of America, having filed its
Complaint herein on April 8, 1971 and plaintiff and the
defendants, by their respective attorneys, having consented
to the entry of this Final Judgment, without trial or
adjudication of any issue of fact or law herein, and with-
out admission by any party with respect to any such issue,
and without this Final Judgment constituting evidence or
admission by any party with respect to any such issue;
     NOW, THEREFORE, before the taking of any testimony and
without adjudication of any issue of fact or law herein
upon the consent of the parties hereto, it is hereby
     ORDERED, ADJUDGED and DECREED as follows:




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       This Court has jurisdiction over the subject matter
  herein and of the parties hereto. The Complaint states
 a claim against the defendants upon which relief may be
 granted under Section 1 of the Act of Congress of July 2,
 1890, entitled "An Act to protect trade and commerce
 against unlawful restraints and monopolies," as amended,
 commonly known as the Sherman Act.
                                     11
       As used in this Final Judgment:
       (A) "Automobile repairs" means the application of
 parts and labor to damaged automobiles for the purpose
 of repairing them;
       (B) "Repair Shop" means any person engaged in
 performing automobile repairs;
       (C) "Parts" means new and used automobile parts
 utilized in repairing damaged automobiles.
                                    III
       The provisions of this Final Judgment applicable
 to any of the defendants shall also apply to its officers,
 directors, agents, employees, subsidiaries, successors,
 and assigns, and to all other persons in active concert
 or participation with any of them who shall have received
 actual notice of this Final Judgment by personal service
 or otherwise; provided, however, that the provisions of
 this Final Judgment shall not apply to transactions between
 defendants which are controlled by the same person and
 provided further, that for purposes of this Final Judgment,
 "control" shall be defined as ownership of more than 50%
 of the outstanding common stock of any defendant.




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                                 IV
    Each defendant is enjoined and restrained from,
directly or indirectly:
     (A) Entering into, adhering to, maintaining or
furthering any contract, agreement, understanding, plan
or program with any repair shop to fix, rletermine, maintain
or stabilize:
           a.   The prices, discounts, markups or other
      erms and conditions at which parts are sold by
     repair shops to third parties;
          b.    The rates charged third parties for the
     labor involved in performing automobile repairs;
          c.    The prices charged or deposits required
     to estimate the cost of performing automobile repairs.
     (B) Advocating, suggesting, urging, inducing,
threatening, coercing, intimidating, or compelling any
repair shop to adopt, use or adhere to:
          a.    Uniform or specific prices, discounts,
     markups or other terms and conditions at which
     parts are sold by repair shops to third parties;
          b.    Uniform or specific rates charged third
     parties for the labor involved in performing auto-
     mobile repairs.


     Each of the defendants is ordered and directed, not
later than ninety (90) days following the date of entry of
this Final Judgment, independently and individually to
review and redetermine, based upon its own costs, business
judgments and other lawful considerations: (1) the prices,
discounts, markups or other terms and conditions at which


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it sells prts tor automobile repairs; (2) the rates it
charges for labor involved in performing automobile
repairs; and, (3) the prices charged or deposits required
to estimate the cost of automobile repairs.
                                    VI
      Each corporate defendant is enjoined and restrained
from organizing, joining, furthering, supporting, or
participating in any activities of, a trade association
with knowledge that the purpose, conduct, or activities
of the same are inconsistent with the prohibitions
contained in Paragraph IV of this Final Judgment.
                                    VII
      For a period of 10 years from the date of entry of
this Final Judgment each defendant is ordered to file
with the plaintiff, on each anniversary date of this
1?inai judgment, a report setting forth the steps it has
taken during the prior year to advise the defendants'
appropriate officers, directors, employees and
members of its and their obligation under this Final
Judgment.
                                    VIII
      For the purpose of determining or securing compliance
with this Final Judgment, duly authorized representatives
of the Department of Justice shall, on written request
of the Attorney General, or the Assistant Attorney General
in charge of the Antitrust Division, and on reasonable
notice to defendant made to its principal office, be
permitted, subject to any legally recognized privilege:
      (A) Access, during office hours of defendant, to all
books, ledgers, accounts, correspondence, memoranda, and




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other records and documents in the possession or under
the contiol of the defendant relating to any matters
contained in this Final Judgment;
     (11) Subject to the reasonable convenience of the
defendant, and without restraint or interference from it,
to interview officers, directors, employees or agents of
the defendant, who may have counsel present, regarding
any such matters.
     Under written request of the Attorney General, or the
Assistant Attorney General in charge of the Antitrust
Division, defendant shall submit such reports in writing
with respect to the matters contained in this Final Judgment
as. may from time to time be requested.
     No information obtained by the, means permitted in
this Paragraph VIII shall be divulged by any representative
of the Department of Justice to any person other than
a duly authorized representative of the Executive Branch
of the plaintiff, except in the course of legal proceedings
in which the United States is a party for the purpose of
securing compliance with this Final Judgment or as
otherwise required by law.
     Jurisdiction is retained for the purpose of enabling
any of the parties to this Final Judgment to apply to this
Court at any time for such further orders and directions
as may be necessary or appropriate for the construction
or carrying out of this Final Judgment or for the modifi-
cation of Any of the provisions herein and for the
enforcement of compliance therewith and the punishment
of the violation of any of the provisions contained herein.


Dated: June 26, 1971


                                   is/ WILBUR OWENS
                                 UNITED STATES DISTRICT JUDGE
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                     UNITED STATES v.
             SOUTHEASTERN PEANUT ASSOCIATION
                       Civil Action No.: 777
                    Year Judgment Entered: 1973




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                         UNITED STATES v.
                         TOM’S FOODS LTD.
                      Civil Action No.: 75-28-COL
                      Year Judgment Entered: 1975




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Trade Regulation Reporter - Trade Cases (1932 - 1992), United States v.
Tom's Foods Ltd., U.S. District Court, M.D. Georgia, 1975-2 Trade Cases
¶60,416, (Jul. 1, 1975)
Click to open document in a browser
United States v. Tom's Foods Ltd.
1975-2 Trade Cases ¶60,416. U.S. District Court, M.D. Georgia, Columbus Division. Civil Action No. 75-28-COL.
Entered July 1, 1975. (Competitive impact statement and other matters ﬁled with settlement: 40 Federal Register
16859). Case No. 2449, Antitrust Division, Department of Justice.
                                                    Sherman Act
Customer Restrictions—Prices—Snack Foods Manufacturer—Agreements with Competitors and
Distributors—Consent Decree.—A manufacturer of snack foods was prohibited by a consent decree from
agreeing with any competitor to restrict or interfere with the sale of such products to distributors or to restrict, ﬁx,
or interfere with the prices paid by distributors for such products. For a period of ten years, the manufacturer was
barred from agreeing with any distributor to restrict or interfere with purchases of snack food products by any
distributor from any other manufacturer or to restrict, ﬁx, or interfere with prices for such purchases.
For plaintiﬀ: Thomas E. Kauper, Asst. Atty. Gen., Baddia J. Rashid, Gerald A. Connell, Robert J. Ludwig, Gary
M. Cohen, and Larry R. Patton, Dept. of Justice, Washington, D. C, C. Nathan Davis, Asst. U. S. Atty., Macon,
Ga.
For defendant: Rober J. Fulgency and Albert W. Stubbs, Columbus, Ga.
                                                    Final Judgment

OWENS, D. J.: Plaintiﬀ, United States of America, having ﬁled its complaint herein on April 8, 1975 and the parties
hereto, by their respective attorneys having consented to the making and entry of this Final Judgment without
trial or adjudication of any issue of fact or law herein, and without admission by either party in respect to any
issue;
Now, Therefore, before any testimony has been taken herein and upon consent of the parties hereto, it is
hereby,
Ordered, Adjudged and Decreed as follows:
I
[ Jurisdiction]
This court has jurisdiction over the subject matter of this action and of the parties hereto. The Complaint states
claims upon which relief may be granted against the defendant under Section 1; of the Act of Congress of July 2,
1890, as amended (15 U. S. C. Section 1), commonly known as the Sherman Act.
II
[ Deﬁnitions]
As used in this Final Judgment
(A) “Distributor” shall mean any person who buys “snack foods” or other products for resale.
(B) “Snack Foods” shall mean food products which are intended for immediate consumption or away-from-
home eating and include, but are not limited to, such items as candies, peanut items, baked goods, potato chips,
pretzels and sandwiches.
(C) “Manufacturer” shall mean any person manufacturing and/or selling or oﬀering to sell snack foods or other
products to Distributors.

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(D) “Person” shall mean any partnership, ﬁrm, corporation, individual or any other business or legal entity.
III
[ Applicability]
The provisions of this Final Judgment applicable to the defendant shall also apply to each of its directors oﬃcers,
agents, employees, subsidiaries, successors and assigns, and to all persons in active concert or participation
with any of them who receive actual notice of this Final Judgment by personal service or otherwise.
IV
[ Sales to Distributors]
The defendant, Tom's Foods Ltd., is enjoined and restrained from:
(A) Entering into, adhering to, enforcing or claiming any right under any contract, agreement, understanding, plan
or program with any Manufacturer that directly or indirectly,
(1) restricts, prevents, limits or interferes with the sale of any product to any Distributor; or
(2) restricts, limits, ﬁxes, stabilizes or interferes with the price, price discounts, or other terms or conditions for the
sale of any product to any Distributor.
(B) The provisions of Section IV(A) above shall not apply to those products manufactured by another
Manufacturer under Tom's Foods Ltd. trademarks solely for sale to Tom's Foods Ltd.
V
[ Agreements with Distributors]
The defendant, Tom's Foods Ltd., is enjoined and restrained, for a period of ten years following the date of entry
of this Final Judgment, from:
(A) Entering into, adhering to, enforcing or claiming any right under any contract, agreement, understanding, plan
or program with any Distributor that, directly or indirectly,
(1) restricts, prevents, limits or interferes with the purchase of snack foods by any Distributor from any other
Manufacturer, or
(2) restricts, limits, ﬁxes, stabilizes or interferes with the price, price discounts, or other terms or conditions for the
purchase of snack foods by any Distributor from any other Manufacturer.
VI
[ Notice]
(A) The defendant is directed and ordered to provide within sixty (60) days from the date of entry of this Final
Judgment, by registered mail, all current Distributors and Manufacturers (to the extent known to the defendant)
with a letter containing the following statement:
      As a result of a Consent Judgment entered by the United States District Court for the Middle District
      of Georgia in United States v. Tom's Foods Ltd. Civil No… … …, each distributor is free to select any
      manufacturer or supplier of snack food products for resale, and to determine the quantity, price or kind of
      each product he will purchase without interference from Tom's Foods Ltd.
      Manufacturers and suppliers are free to oﬀer to distributors any product, or any price discount or
      promotion for any product, without the approval of Tom's Foods Ltd., except for these products bearing the
      Tom's Foods Ltd. trademark that they manufacture solely for sale to Tom's.
(B) The defendant is directed and ordered to ﬁle with the Court and serve upon plaintiﬀ, within ninety (90) days
from the date of entry of this Final Judgment, a report stating the manner of its compliance with the provisions of
paragraph A of this Section VI.
VII


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[ Compliance]
For the purposes of determining or securing compliance with the Final Judgment, duly authorized
representatives of the Department of Justice shall, upon written request of the Attorney General, or the Assistant
Attorney General in charge of the Antitrust Division, and on reasonable notice to defendant, made to its principal
oﬃce, be permitted, subject to any legally recognized claim of privilege, (a) access during the oﬃce hours of
defendant to all books, ledgers, accounts, correspondence, memoranda, and other records and documents in
the possession, custody, or control of defendant relating to any matters contained in this Final Judgment and
(b) subject to the reasonable convenience of defendant, but without restraint or interference from it, to interview
oﬃcers, directors, agents, or employees of the defendant, who may have counsel present, regarding any such
matter. Upon the written request of the Attorney General, or the Assistant Attorney General in charge of the
Antitrust Division, defendant shall submit such written reports with respect to any of the matters contained in this
Final Judgment as from time to time may be requested. No information obtained by the means provided in this
Section VII shall be divulged by any representative of the Department of Justice to any person other than a duly
authorized representative of the Executive Branch, except in the course of legal proceedings to which the United
States is a party, for the purpose of securing compliance with this Final Judgment, or as otherwise required by
law.
VIII
[ Reports]
For a period of ﬁve (5) years from the date of entry of this Final Judgment, defendant shall submit annually on
the anniversary date of this Final Judgment a written report to the plaintiﬀ setting forth the steps taken during the
preceding year to inform its oﬃcers, directors, agents and employees of its and their obligations under this Final
Judgment.
IX
[ Retention of Jurisdiction]
Jurisdiction is retained for the purpose of enabling either of the parties to this Final Judgment to apply to this
Court at any time for such further orders and directions as may be necessary or appropriate for the modiﬁcation,
construction or carrying out of this Final Judgment, for the enforcement of compliance therewith, and the
punishment of violations thereof. Entry of this Final Judgment is in the public interest.




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